David S. Douglas (DD-6250)
GALLET DREYER & BERKEY, LLP
845 Third Avenue, 8" Floor

New York, New York 10022

(212) 935-3131

Attorneys for Defendants

Nationwide Management Inc.,
Benjamin Osiashvili, Mikael
Osiashvili, Svetlana Osiashvili,

and Alex Vayner

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

SKY MEDICAL SUPPLY INC.,

Plaintiff,
12 Civ. 6383 (JFB) (AKT)
-against-
NOTICE OF MOTION
SCS SUPPORT CLAIMS SERVICES, INC., et al.,

Defendants.
x

 

PLEASE TAKE NOTICE that, upon the annexed affidavit of David S. Douglas,
and the exhibits thereto, and the accompanying memorandum of law, defendants
Nationwide Management Inc., Benjamin Osiashvili, Mikael Osiashvili, Svetlana
Osiashvili, and Alex Vayner (“Nationwide Defendants”) will move this Court, before the
Honorable Joseph F. Bianco, at 100 Federal Plaza, Central Islip, New York 11722, on the
9" day of J anuary, 2014 at 4:30 p.m., or as soon thereafter as counsel may be heard,
pursuant to Fed R. Civ. P. 12(b)(6) and 9(b), for an Order dismissing this action in its
entirety as against the Nationwide Defendants and granting such other and further relief

as the Court deems just and proper.
 

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Dated: New York, New York
October 23, 2013

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GALLET DREYER & BERKEY, LLP

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“ Dyfid S. Douglas (DD-6250)

845 Third Avenue, 8” Floor
New York, New York 10022
(212) 935-3131

Attorneys for Defendants
Nationwide Management Inc.,
Benjamin Osiashvili, Mikael
Osiashvili, Svetlana Osiashvili,
and Alex Vayner
